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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

 Date: September 4, 2024          Time: 1 hour, 30 minutes Judge: WILLIAM H. ORRICK
                                  3:36 p.m. to 5:06 p.m.
 Case No.: 00-cv-04599-WHO        Case Name: Allen, et al v. City of Oakland, et al



Attorneys for Plaintiff:      John Burris and James Chanin
Attorney for Defendant:       Brigid S. Martin (with Chief Assistant City Atty Ryan Richardson)
Attorney for Intervenor:      Rockne A. Lucia, Jr. (with president of OPOA Huy Nguyen)

City Representatives:         Chief Floyd Mitchell
                              Assistant Chief James Beere
                              Deputy Chief Clifford Wong
                              Deputy Chief Angelica Mendoza
                              Chair, Oakland Police Commission Marsha Carpenter Peterson
                              Mayor Sheng Thao


 Deputy Clerk: Jean Davis                              Court Reporter: Kendra Steppler


                                        PROCEEDINGS

Parties appear for Case Management Conference.

The Court hears from Chief Floyd Mitchell and asks questions (3:37 p.m. to 4:05 p.m.)

The Court hears from James Chanin (4:06 to 4:19 p.m.), John Burris (4:20 p.m. to 4:26 p.m.),
Marsha Carpenter Peterson (4:27 p.m. to 4:33 p.m.), and Rockne A. Lucia, Jr. (4:34 p.m. to 4:41
p.m.).

The Court hears from Brigid S. Martin (4:42 p.m. to 4:56 p.m) and Mayor Sheng Thao (4:56
p.m. to 5:02 p.m.).

The Court addresses the parties regarding anticipated written order that will be issued following
the hearing. The Order will require that the City of Oakland file a Status Report summarizing
progress made on the directives of the order by October 8, 2024.

Further Case Management Conference set for January 8, 2025 at 3:30 p.m.
